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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:04CR00291-02 JLH

HARRY T. BAKER                                                                          DEFENDANT


                                              ORDER

        Harry T. Baker has filed a motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2),

based upon the retroactive application of the crack cocaine guideline reduction effective March 3,

2008.

        Not every person sentenced for a crack cocaine offense is eligible for a sentence reduction.

Only those persons currently serving a sentence determined or affected by a sentencing range

calculated using the drug quantity table, U.S.S.G. § 2D1.1, are potentially eligible.

        Baker was held responsible for between 5 and 20 grams of cocaine base, which at the time

he was sentenced, resulted in a level 26. He received 3 points for acceptance of responsibility, which

resulted in a total offense level of 23. His criminal history category was VI. The guideline range

for an offense level of 23 and a criminal history category of VI is 92 to 115 months. Under the new

guidelines for crack cocaine, Baker’s offense level would be 24, so after a 3 level reduction, he

would be at level 21. The guideline range for an offense level of 21 and a criminal history category

of VI is 77 to 96 months. Baker was sentenced to a term of imprisonment of 60 months because that

was the statutory maximum under 18 U.S.C. § 371, the offense for which he was convicted. When

the statutory maximum is less than the guideline range, the statutory maximum is the guideline

sentence. See U.S.S.G. § 5G1.1(a). Even if the new guideline range were applied to Baker, that
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range would still be above the statutory maximum, so the statutory maximum would still be the

guideline sentence. The retroactive application of the sentencing guidelines would not change

Baker’s sentence. Therefore, Baker’s motion to reduce his sentence pursuant to 18 U.S.C.

§ 3582(c)(2) is DENIED. Document #704.

       IT IS SO ORDERED this 17th day of March, 2008.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE




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